                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 02-CR-2030-LRR
 vs.                                                           ORDER
 WILLIE JAMES OUTLAW, JR.,
               Defendant.

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       The matter before the court is Defendant Willie James Outlaw, Jr.’s pro se Motion
for Modification of Sentence pursuant to Rule 35(b) of the Federal Rules of Criminal
Procedure and/or U.S.S.G. § 1B1.8, App. Note 6 (“Motion”) (docket no. 350).1
Defendant filed his Motion on October 16, 2006. For the following reasons, Defendant’s
Motion shall be denied.
       In his Motion, Defendant contends that he is entitled to a sentence reduction based
on his agreement with the government to testify against his co-defendants. Defendant
argues that he was “instrumental in the U.S. Attorney’s Office obtaining pleas of guilty
from certain defendants” and, therefore, he should receive a reduced sentence.
       Except in limited circumstances, a court may not modify a term of imprisonment
once it has been imposed. 18 U.S.C. § 3582(c). The only subsection of 18 U.S.C. §


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        Given the fact that U.S.S.G. § 5K1.1 is the guideline utilized by the government
when a defendant provides substantial assistance to authorities, the court is unsure why
Defendant deems it appropriate to rely on U.S.S.G. § 1B1.8, App. Note 6. The court
notes that Defendant received a reduction pursuant to U.S.S.G. § 5K1.1 at the time of his
sentencing.

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3582(c) that appears to be available to Defendant is (1)(B). That subsection provides the
following:
             [T]he court may modify an imposed term of imprisonment to
             the extent otherwise expressly permitted by statute or by Rule
             35 of the Federal Rules of Criminal Procedure[.]
18 U.S.C. § 3582(c)(1)(B). Rule 35 of the Federal Rules of Criminal Procedure, in
relevant part, provides:
             (b) Reducing a Sentence for Substantial Assistance.
                    (1) In General. Upon the government’s motion made
                    within one year of sentencing, the court may reduce a
                    sentence if:
                           (A) the defendant, after sentencing, provided
                           substantial assistance in investigating or
                           prosecuting another person; and
                           (B) reducing the sentence accords with the
                           Sentencing Commission’s guidelines and policy
                           statements.
                    (2) Later Motion. Upon the government’s motion made
                    more than one year after sentencing, the court may
                    reduce a sentence if the defendant’s substantial
                    assistance involved:
                           (A) information not known to the defendant until
                           one year or more after sentencing;
                           (B) information provided by the defendant to the
                           government within one year of sentencing, but
                           which did not become useful to the government
                           until more than one year after sentencing; or
                           (C) information the usefulness of which could
                           not reasonably have been anticipated by the
                           defendant until more than one year after
                           sentencing and which was promptly provided to


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                               the government after its usefulness was
                               reasonably apparent to the defendant.
See Fed. R. Crim. P. 35(b)(1), (2) (emphasis added). Rule 35(b) of the Federal Rules of
Criminal Procedure does not provide Defendant with authority to reduce his sentence based
on substantial assistance. Id. Only the government is able to rely on Rule 35(b) of the
Federal Rules of Civil Procedure; the government must move the court to reduce
Defendant’s sentence for providing substantial assistance. Id. Because the government
did not move the court to reduce his sentence, Defendant’s Motion shall be denied.


       IT IS THEREFORE ORDERED:
       Defendant Willie James Outlaw’s Motion for Modification of Sentence pursuant to
       Rule 35(b) of the Federal Rules of Criminal Procedure and/or U.S.S.G. § 1B1.8,
       App. Note 6 (Docket No. 350) is DENIED.
       DATED this 27th day of October, 2006.




   Copies mailed on:   mem 10.27.06


   to counsel of record or pro se parties as shown on
   docket and other parties listed here:




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